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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 IN RE: DAVOL, INC./C.R. BARD, INC.,
                                                    Case No. 2:18-md-2846
 POLYPROPYLENE HERNIA MESH
 PRODUCTS LIABILITY LITIGATION
                                                    CHIEF JUDGE EDMUND A. SARGUS, JR.
                                                    Magistrate Judge Kimberly A. Jolson



 This document relates to:
                                                    Civil Action No. 2:22-cv-3447
 Shana Y. Woten


                                 SHORT FORM COMPLAINT

        Plaintiff files this Short Form Complaint pursuant to Case Management Order No. 9 and is

to be bound by the rights, protections, and privileges and obligations of that Order. Plaintiff hereby

incorporates the Master Complaint in MDL No. 2846 by reference. Plaintiff further shows the

Court as follows:

1.      The name of the person implanted with Defendants’ Hernia Mesh Device(s):

        Shana Y. Woten

2.      The name of any Consortium Plaintiff (if applicable):

        Not Applicable

3.      Other Plaintiff(s) and Capacity (i.e., administrator, executor, guardian, conservator):

        Not Applicable

4.      State of Residence:

        Illinois

5.      District Court and Division in which action would have been filed absent direct filing:

        United States District Court for the District of Rhode Island, Providence
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6.      Defendants (Check Defendants against whom Complaint is made):
             A. Davol, Inc.

             B. C.R. Bard, Inc.

               A. Other (please list:                                                   )

7.      Identify which of Defendants’ Hernia Mesh Device(s) was/were implanted (Check
        device(s) implanted):
             3DMax Mesh

             3DMax Light Mesh

             Bard (Marlex) Mesh Dart

             Bard Mesh

             Bard Soft Mesh

             Composix

             Composix E/X

              Composix Kugel Hernia Patch

             Composix L/P

             Kugel Hernia Patch

             Marlex

             Modified Kugel Hernia Patch

             Perfix Light Plug

             PerFix Plug

             Sepramesh IP

             Sperma-Tex

             Ventralex Hernia Patch

             Ventralex ST Patch

             Ventralight ST
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             Ventrio Patch

             Ventrio ST

             Visilex

             Other (please list in space provided below):


8.      Defendants’ Hernia Mesh Device(s) about which Plaintiff is making a claim (Check
        applicable device(s)):
             3DMax Mesh

             3DMax Light Mesh

             Bard (Marlex) Mesh Dart

             Bard Mesh

             Bard Soft Mesh

             Composix

             Composix E/X

              Composix Kugel Hernia Patch

             Composix L/P

             Kugel Hernia Patch

             Marlex

             Modified Kugel Hernia Patch

             Perfix Light Plug

             PerFix Plug

             Sepramesh IP

             Sperma-Tex

             Ventralex Hernia Patch

             Ventralex ST Patch
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              Ventralight ST

              Ventrio Patch

              Ventrio ST

              Visilex

              Other (please list in space provided below):


9.      Date of Implantation and state of implantation: On or about 12/27/2013, Illinois

10.     As of the date of filing this Short Form Complaint, has the person implanted with
        Defendants’ Hernia Mesh Device(s) had subsequent surgical intervention due to the Hernia
        Mesh Device(s)?:        Yes x          No

11.     Basis of Jurisdiction:

         X      Diversity of Citizenship

               Other:
12.     Counts in the Master Complaint adopted by Plaintiff(s):

              Count I – Strict Product Liability- Defective Design

              Count II – Strict Product Liability- Failure to Warn

              Count III – Strict Product Liability- Manufacturing Defect

              Count IV– Negligence

              Count V– Negligence Per Se

              Count VI– Gross Negligence

              Count VII – State Consumer Protection Laws (Please identify applicable State
              Consumer Protection law(s)):
              R.I. GEN. LAWS §§ 6-13.1, et. seq.; 13.; Illinois: 815 ILCS 505-1, et. seq.

              Count VIII – Breach of Implied Warranty

              Count IX – Breach of Express Warranty

              Count X – Negligent Infliction of Emotional Distress
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        Count XI – Intentional Infliction of Emotional Distress

        Count XII – Negligent Misrepresentation

        Count XIII – Fraud and Fraudulent Misrepresentation

        Count XIV – Fraudulent Concealment

        Count XV – Wrongful Death

        Count XVI – Loss of Consortium

        Count XVII – Punitive Damages

        Other Count(s) (please identify and state factual and legal bases for
        other claims not included in the Master Complaint below):




          Jury Trial is Demanded as to All Counts

          Jury Trial is NOT Demanded as to All Counts; if Jury Trial is
          Demanded as to Any Count(s), identify which ones (list below):




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                                          s/ Andrea J. Giovannone
                                                    Attorney for Plaintiff


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